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      VERNON STRATTON
  6
  7                         UNITED STATES DISTRICT COURT
  8                        CENTRAL DISTRICT OF CALIFORNIA
  9   VERNON STRATTON                  ) 2:19-cv-00430 MCS (ASx)
                                       )
 10             Plaintiff,             ) JOINT MOTIONS IN LIMINE
                                       )
 11   vs.                              )
                                       )
 12   CITY OF LOS ANGELES, OFFICER )
      GONZALEZ (#42365), OFFICER       )
 13   SANCHEZ (#32899), OFFICER        )
      AMBER KIM (#40907), TRAVIS       )
 14   HANTSBARGER, DONNA BRITTON, )
      and DOES 1- 100, inclusive,      )
 15                                    )
                Defendants.            )
 16   ________________________________ )
 17         Plaintiff, on behalf of the parties, hereby submits their joint motions in limine,
 18   As of this time, the parties have agreed to a resolution on all the motions.
 19   DATED: October 9, 2020                  BELTRAN, BELTRAN, SMITH &
                                              MACKENZIE LLP
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 21                                           By:_/S/__________________________
                                               PATRICK S. SMITH
 22                                            Attorneys for Plaintiffs
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  1         1. Plaintiff’s motion in limine to preclude introduction or mention of any
  2   alleged contacts prior to the April 12, 2018 date of incident with the police
  3   department or court system. The parties have agreed that no such evidence will
  4   come in unless the Plaintiff “opens the door,” or any such information becomes
  5   relevant, and the court determines that prior contacts, if any, are admissible.
  6         2. Defendant Hantsbarger/Britton motion in limine to preclude introduction or
  7   mention of any alleged contacts prior to the April 12, 2018 date of incident with the
  8   police department or court system. The parties have agreed that no such evidence
  9   will come in unless these defendants "open the door," or any such information
 10   becomes relevant, and the court determines that prior contacts, if any, are admissible.
 11         3. Defendant Police Officers motion in limine to request an order bifurcating
 12   determination of liability from that of damages (both compensatory and punitive).
 13   FRE 402, 403, and FRCP 42. These defendants have withdrawn this motion.
 14         4. Defendant Police Officers motion in limine to preclude any mention and/or
 15   evidence of other lawsuits, claims, settlements of verdicts involving the LAPD or
 16   other law enforcement agencies. The parties have agreed that no such evidence will
 17   come in unless these defendants "open the door," or any such information becomes
 18   relevant, and the court determines that prior contacts, if any, are admissible.
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  1         5. Defendant Police Officers motion in limine to preclude any mention or
  2   evidence of any media articles and/or reports regarding the LAPD or other law
  3   enforcement agencies. The parties have agreed that no such evidence will come in
  4   unless the Hantsbarger "opens the door," or any such information becomes relevant,
  5   and the court determines that the evidence, if any, is admissible.
  6   DATED: October 9, 2020          BELTRAN, BELTRAN, SMITH &
                                      MACKENZIE LLP
  7
                                      By___/S/______________________
  8                                     PATRICK S. SMITH, ESQ.
                                        Attorney for Plaintiff
  9
      DATED: October 9, 2020          MICHAEL FEUER
 10                                   Los Angeles City Attorney
 11                                   By___/S/__________________
                                        MATTHEW W. MCALEER
 12                                     Deputy City Attorney
                                        Attorneys for Defendants, City of Los Angeles,
 13                                    Gonzalez, Sanchez, and Kim
 14   DATED: October 9, 2020          D. SHAWN BURKLEY, ATTORNEY-AT-LAW
 15                                   By___/S/______________________
                                        D. Shawn Burkley, Esq.
 16                                     Attorney for Defendants Hantsbarger and Britton
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